         Case 1:12-cv-01332-ABJ Document 139 Filed 01/03/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
COMMITTEE ON OVERSIGHT AND                       )
GOVERNMENT REFORM, UNITED STATES )
HOUSE OF REPRESENTATIVES,                        )
                                                 )
                             Plaintiff,          )
                                                 )
              v.                                 )         Case No. 1:12-cv-01332
                                                 )
MATTHEW WHITAKER, in his official capacity )
as Acting Attorney General of the United States, )
                                                 )
                             Defendant.          )
                                                 )

                        NOTICE OF TERMINATION OF COUNSEL

       Please take notice that attorneys Kerry W. Kircher, William B. Pittard, and Isaac B.

Rosenberg are no longer associated with the Office of General Counsel for the U.S. House of

Representatives (“Office of General Counsel”) and should be removed from the case docket and

electronic notification system for the above-captioned case. The Committee on Oversight and

Government Reform of the U.S. House of Representatives continues to be represented by the

Office of General Counsel through undersigned counsel Todd B. Tatelman, who has entered an

appearance in this matter.

                                        Respectfully submitted,

                                        /s/ Todd B. Tatelman
                                        TODD B. TATELMAN
                                        Deputy General Counsel
        Case 1:12-cv-01332-ABJ Document 139 Filed 01/03/19 Page 2 of 3



                                 OFFICE OF GENERAL COUNSEL,
                                 U.S. HOUSE OF REPRESENTATIVES
                                 219 Cannon House Office Building
                                 Washington, D.C. 20515
                                 Telephone: (202) 225-9700

                                 Counsel for the Committee on Oversight and
                                 Government Reform of the U.S. House of
                                 Representatives

January 3, 2019
         Case 1:12-cv-01332-ABJ Document 139 Filed 01/03/19 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2019, I filed the foregoing Notice of Termination of

Counsel via the U.S. District Court for the District of Columbia’s CM/ECF system, which I

understand caused service on all registered parties.



                                                       /s/ Todd B. Tatelman
                                                       Todd B. Tatelman
